993 F.2d 1540
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Robert Earl FRYE, a/k/a Robel, Defendant-Appellant.
    No. 93-6261.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  May 3, 1993Decided:  May 28, 1993
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Durham.  Richard C. Erwin, Senior District Judge.  (CR-89-128-D, CA-92-235)
      Robert Earl Frye, Appellant Pro Se.
      David Bernard Smith, Assistant United States Attorney, Greensboro, North Carolina, for Appellee.
      Before RUSSELL and HALL, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Robert Earl Frye appeals from the district court's order refusing relief under 28 U.S.C. § 2255 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Frye, Nos.  CR-89-128-D, CA-92-235 (M.D.N.C. Feb. 11, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    